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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,


                        v.                                 Criminal Action No. 17-51 (BAH)

 RAUL FLORES-HERNANDEZ,                                    Judge Beryl A. Howell

                        Defendant.                         EX PARTE & UNDER SEAL




                         MEMORANDUM OPINION AND ORDER

       Defendant Raul Flores-Hernandez pled guilty, on March 8, 2023, without a plea

agreement, to the single charge against him of conspiring, from “in or around 1983 and

continuing to the date of the filing of this Indictment” on March 8, 2017, Indictment, ECF No. 1,

to distribute five kilograms or more of cocaine, intending and knowing that the cocaine would be

unlawfully imported into the United States, in violation of 21 U.S.C. §§ 959(a), 960(b)(1)(B)(ii),

and 963, and admitted at the plea hearing to his participation in the charged conspiracy, “from in

or about 2007, within the countries of Bolivia, Peru, Brazil and Mexico,” and his accountability

for “more than 150 kilograms but not more than 450 kilograms” of cocaine. Def.’s Statement of

Facts ¶¶ 1, 2, ECF No. 29. At the sentencing hearing scheduled for September 6, 2023, the

government intends to present evidence supporting various disputed sentencing enhancements,

including that: (1) defendant is accountable for 450 or more kilograms of cocaine, warranting a

base offense level of 38, under the applicable advisory guidelines, U.S.S.G. §§2D1.1(a)(5) and

(c)(1); (2) defendant was an organizer or leader of a criminal activity that involved five or more

participants or was otherwise extensive, warranting a four-level upward adjustment, under id. §

3B1.1(a); (3) defendant imported or exported a controlled substance using an aircraft, warranting


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a two-level increase, under id. § 2D1.1(b)(3)(B); and (4) defendant bribed or attempted to bribe a

law enforcement officer to facilitate the commission of the offense, warranting a two-level

increase, under id. § §2D1.1(b)(11). See Presentence Report (“PSR”) ¶ 4, ECF No. 41; see also

Def.’s Objections to Draft PSR, ECF No. 44 (noting defendant’s objections to all the foregoing

guidelines determinations).

       In connection with the sentencing hearing, the government has moved, ex parte and

under seal, for authorization to withhold from defendant three law enforcement reports, which

have not been disclosed to the Court and are minimally described as relating to a government

witness’s (“the Witness”) mental health condition, treatment for that condition and the

government’s role in facilitating the Witness’s access to and obtaining that treatment. See

Gov’t’s Mot. for Prot. Order (“Gov’t’s Mot.”) at 1, ECF No. 45. The Witness is anticipated to

testify at the sentencing hearing to provide factual support for the government’s position on

appropriate application of the sentencing enhancements under the guidelines. Instead of

producing the three withheld law enforcement reports, the government seeks to disclose, in

accordance with its obligations under Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v.

United States, 405 U.S. 150 (1972), only the following single statement related to these reports

that omits any reference to the Witness’s mental health: “On one occasion, FBI assisted the

Witness by retrieving the Witness’s vehicle and facilitating its return to the Witness’s wife

because the Witness was unable to retrieve it himself.” Id. at 3–4.

       For the reasons explained more fully below, the government’s proposed disclosure falls

short of capturing the relevant information apparently available in the reports subject to

disclosure under Brady and Giglio. Based on the government’s description, the reports not only

detail the FBI’s and law enforcement’s involvement in obtaining treatment for the Witness,



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which sheds light on the nature of the Witness’s, and his family’s, relationship with the

government and represents an instance of the Witness receiving benefits from the government,

but also contain information regarding the Witness’s mental state at the time key events may

have occurred, both of which have a bearing on his credibility. Defendant is therefore entitled to

see these reports, and the government’s motion is denied.

I.     BACKGROUND

       The government intends to call the Witness “to testify as to the Defendant’s narcotics and

money laundering activities from the early 1980s through approximately 2012.” Gov’t’s Mot. at

2. According to the government, the Witness’s family and defendant’s family were “close

socially” at the time of defendant’s drug trafficking activities, “with the Witness’s father being

godfather to at least one of the Defendant’s sons.” Id. Prior to 2012, when the Witness turned

himself in to the U.S. Drug Enforcement Administration and began cooperating, he was also

involved personally in drug trafficking and money laundering activities in coordination with

defendant beginning in 2003. Id. at 2–3. In short, the Witness appears poised to offer key

testimony at sentencing regarding the precise nature and extent of defendant’s illicit activities

during close to a decade of the charged conspiracy period, including during the time-frame

defendant admitted at the plea hearing to being involved.

       As noted, the government seeks to withhold from disclosure three law enforcement

reports detailing the following events, as summarized in the government’s motion: On June 19,

2019, the FBI “received information regarding the Witness’s safety,” and arranged for local law

enforcement to respond. Id. at 3. Local law enforcement met with the Witness, who said “he

wanted to die,” prompting officers to take him to a behavioral health facility for evaluation. Id.

While the Witness was still at the facility, the local FBI agents met with him, and discussed his



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depression and that the Witness “had felt this way once before, when he was in Panama,” which

reference to Panama, the government explains in a footnote, occurred after the Witness was

released from being kidnapped and held hostage for almost two months in 2010. Id. & n.1

(noting that “Witness’s statements relating to this kidnapping incident and the Witness’s

subsequent flight to Panama [will be disclosed] as part of [government’s] disclosures pursuant to

the Jencks Act, 18 U.S.C. § 3500 et seq.”). The Witness was in the behavioral health facility for

“a short period of time” before being released. Id. While he was there, the FBI arranged for the

return of the Witness’s vehicle to his wife. Id.

II.    DISCUSSION

       In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court held that “the suppression

by the prosecution of evidence favorable to an accused . . . violates due process where the

evidence is material either to guilt or to punishment.” Id. at 87. “Further, in Giglio v. United

States, 405 U.S. 150, 154 (1972), the Supreme Court extended the prosecution’s Brady

obligation to include the disclosure of evidence affecting the credibility of a witness.” United

States v. Celis, 608 F.3d 818, 834 (D.C. Cir. 2010). Evidence is considered “material” if it is

reasonably probable that, had the evidence been disclosed to the defense, the result of the

proceeding would be different. United States v. Bagley, 473 U.S. 667, 682 (1985); see also

Wearry v. Cain, 577 U.S. 385, 392 (2016) (per curiam) (“Evidence qualifies as material when

there is ‘any reasonable likelihood’ it could have ‘affected the judgment of the jury.’” (quoting

Giglio, 405 U.S. at 154)). “Evidence may be material even when it affects only the credibility of

a witness.” United States v. Herrera, 51 F.4th 1226, 1242 (10th Cir. 2022); see also Kyles v.

Whitley, 514 U.S. 419, 434, 454 (1995) (applying Bagley to find that witness statements




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suggesting inconsistencies in eyewitness accounts could not be suppressed because they could

have led a jury to find the eyewitnesses unreliable).

       Of course, assessing materiality under these standards assumes a post hoc perspective on

the totality of the evidence presented at trial; only then can a court meaningfully address whether

the outcome of a proceeding would have been different had certain disclosures been made. Here,

by contrast, the government seeks assurance prior to any proceeding that their desired non-

disclosures will not later present a Brady/Giglio problem. Addressing that question in this

posture necessarily invites speculation as to the relevancy and probative value of the evidence at

issue, when neither the Court nor the government yet knows how the defense plans to present its

case. Caution is therefore of particular importance at this stage—if the law enforcement reports

have the potential to serve as impeachment material, better to recognize that potential now than

tempt the commission of Brady/Giglio errors because certain assumptions about the defense’s

plans turn out to be unfounded. See, e.g., Bagley, 473 U.S. at 700–05 & n.5 (Marshall, J.,

dissenting) (explaining the perversity of “apply[ing] the ‘materiality’ standard at the pretrial

stage” to make nondisclosure determinations and recommending that because “[n]o prosecutor

can know prior to trial whether such evidence will be of consequence at trial . . . the mere fact

that it might be . . . suffices to mandate disclosure” (emphasis in the original)).

       Set against these standards, distillation into the single proposed statement of partial

information apparently contained in the three withheld law enforcement reports is insufficient to

comply with the government’s Brady and Giglio obligations for two reasons.

       First, where, as here, the government has promised or provided benefits to a witness,

evidence related to such benefits must be disclosed to the defense due to the reasonable

probability that such benefits may affect the witness’s credibility. See Bagley, 473 U.S. at 684



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(holding that nondisclosure of government promise of benefits to two principal witnesses in the

form of contracts to pay money commensurate with the information furnished, had the “natural

effect” of misleading the defense that the two witnesses provided inculpatory information

without any “inducements,” when the contracts made reasonably probable that the government

had incentivized them to do so); Giglio, 405 U.S. at 152–55 (holding that a promise from an

individual prosecutor that a witness would not be prosecuted if he testified was relevant to

witness’s credibility). Acknowledging this well-settled law, the government’s proposed

statement would disclose to defendant that a specific benefit was conferred on the Witness when

“the FBI assisted the Witness by retrieving the Witness’s vehicle and facilitating its return to the

Witness’s wife.” Gov’t’s Mot. at 3–4.

       So far so good, but by stripping away the context in which the FBI furnished car-valet

service for Witness’s wife, this single sentence is misleading in three ways: by underplaying the

potentially dependent relationship the Witness (and his family) have with the FBI, omitting any

reference to the seriousness of the mental health crisis suffered by the Witness both in 2019 and

2010, and minimizing the gratitude the Witness may have for the attention and assistance

provided to him and his family in this crisis. Indeed, the single proposed statement fails to

disclose that: (1) when the Witness suffered a medical crisis, the FBI apparently was the first call

made for help; (2) when alerted, the FBI, to its credit, sprang into action to assist the Witness

with receiving critical mental health treatment—not restoring the Witness’s car to his spouse—

by alerting the local FBI office, where the Witness resided; (3) the local FBI office then arranged

for local law enforcement to respond and transport the Witness to a health facility; and (4) local

FBI agents followed up and met with the Witness in the health facility to interview him. Only




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after these other steps were taken, did the local FBI office facilitate the return of the Witness’s

car to his spouse.

       This fuller context of the Witness’s receipt of benefits from the government when the FBI

coordinated with the local FBI office and local law enforcement to send him to a facility for

mental health evaluation and treatment is important information in assessing the Witness’s

incentives or biases to testify favorably to the government. See United States v. Abel, 469 U.S.

45, 51–52 (1984) (“A successful showing of bias on the part of a witness would have a tendency

to make the facts to which he testified less probable in the eyes of the jury than it would be

without such testimony,” where “[b]ias is a term used . . . to describe the relationship between a

party and a witness which might lead the witness to slant, unconsciously or otherwise, his

testimony in favor of or against a party.”). Just as the withholding of the contractual

arrangements in Bagley misled the defense regarding the witnesses’ bias, the proposed Giglio

disclosure here––which mentions only the FBI’s retrieval and delivery of the Witness’s car––

could reasonably mislead the defense that the government’s assistance was trivial to the Witness,

when in fact its assistance in obtaining mental health evaluation, admission, and treatment for the

Witness may have been a matter of life and death. The fact that the FBI was apparently the first

point of contact when the Witness experienced this mental health emergency further indicates a

dependent relationship between the Witness and his family with the government, and may

provide a source of bias and partiality favoring the government that defendant is entitled to

explore.

       Second, the government asserts that withholding the three law enforcement reports is

appropriate as the reports are neither “relevant nor . . . helpful to the defense” because “suicidal

ideation or depression by itself would not cause the Witness to have ‘difficulty in perceiving



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reality or motivate’ him to testify against the Defendant,” Gov’t’s Mot. at 4 (quoting United

States v. George, 532 F.3d 933, 937 (D.C. Cir. 2008), and “because the incident took place in

2019, approximately four years prior to his anticipated testimony,” id. At the same time, the

government acknowledges, correctly, that evidence regarding a witness’s mental health may

qualify as material Giglio evidence when such evidence “reasonably cast[s] doubt on the ability

or willingness of a witness to tell the truth.” Id. (quoting United States v. Smith, 77 F.3d 511,

516 (D.C. Cir. 1996) and citing George, 532 F.3d at 936–37). Indeed, courts across the country

regularly conclude that evidence regarding a key witness’s mental health may be used to attack

that witness’s credibility, triggering disclosure obligations under Brady and Giglio. See, e.g.,

Fuentes v. Griffin, 829 F.3d 233, 247 (2d Cir. 2016) (“Based on clearly established fundamental

rights and principles, we think it indisputable that if the prosecution has a witness’s psychiatric

records that are favorable to the accused because they provide material for impeachment, those

records fall within Brady principles[.]”); Hall v. Mays, 7 F.4th 433, 444, 447 (6th Cir. 2021)

(noting that there was no dispute that a witness’s mental health records “would have impeached

his general credibility,” but denying defendant’s Brady claim on other grounds); Browning v.

Trammell, 717 F.3d 1092, 1106 (10th Cir. 2013) (concluding that suppressed mental-health

records were material because they would have undermined the “credibility” of the

“prosecution’s indispensable witness”); United States v. Kohring, 637 F.3d 895, 910 (9th Cir.

2011) (“The government is generally under an obligation to disclose impeachment evidence that

bears on the credibility of a witness, including evidence of poor mental and emotional health that

may be provable on cross-examination.”); Smith, 77 F.3d at 516 (noting that “[m]ental records

can be material as impeachment evidence because they can cast doubt on the accuracy of a

witness’ [sic] testimony” and that evidence regarding a witness’s “chronic depression” could be



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relevant impeachment material); United States v. Vargas, 18-cr-76 (PAC), 2018 WL 6061207, at

*3 (S.D.N.Y. Nov. 20, 2018) (rejecting government’s argument that a testifying cooperating

witness’s mental health, suicide attempt and relationship with defendant were “irrelevant and

inadmissible” “ because [n]one of the subjects have any bearing on [the witness’s] character for

truthfulness, and are entirely unrelated to the instant case,” explaining that these areas “are

relevant to her potential bias and motive for testifying at trial” and “bear[] directly on her

‘character for truthfulness or untruthfulness’” (citing Fed. R. Evid. 608(b)(1) (other internal

quotations and citations omitted); cf. McCray v. Capra, 45 F.4th 634, 642–43 (2d Cir. 2022)

(finding no Brady violation in the withholding of certain information regarding victim’s mental

health condition since “a remarkable amount of information about the victim, including her

history of hospitalizations for mental health episodes” was already disclosed and thus “[b]etween

the sample provided to [defendant] and the victim’s testimony in open court, [defendant] had

ample material with which to impeach the victim’s credibility at trial and more than sufficient

information to prompt defense counsel to pursue the victim’s mental health as a potential avenue

for impeachment.”).

       To be sure, not every mental health issue experienced by government witnesses over the

course of their lives triggers a Brady/Giglio disclosure obligation. The relevance and probative

value of information about mental health issues may turn on the nature, time-frame, frequency,

duration, severity, treatment and medication regimen accompanying the condition or episode,

with the ultimate query focused on whether such mental health issues have a bearing on

witnesses’ clarity of recall and, consequently, both their competency and credibility. See United

States v. Sasso, 59 F.3d 341, 347-48 (2d Cir. 1995) (“Evidence of a witness’s psychological

history may be admissible when it goes to her credibility. In assessing the probative value of



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such evidence, the court should consider such factors as the nature of the psychological problem,

the temporal recency or remoteness of the history, and whether the witness suffered from the

problem at the time of the events to which she is to testify, so that it may have affected her

ability to perceive or to recall events or to testify accurately.” (internal quotation and citations

omitted)).

       Here, the Witness’s mental condition, which appears to include episodes of depression

and suicidal ideation, apparently stretches back to at least 2010 and, consequently, may be used

to call into question the credibility of his testimony regarding his interactions with the defendant,

at least until 2012 when the Witness began cooperating. For instance, the Witness may not

remember events as clearly at or before a period when he suffered a severe depressive episode,

and therefore the information in the reports regarding the Witness’s history and symptoms of

mental health challenges may qualify as impeachment material. See Smith, 77 F.3d at 516–17 &

n.3 (noting that “the widely varying forms of depression and vast array of accompanying

symptoms,” including “delusions or hallucinations,” made possible that the medical records at

issue cast doubt on the witness’s reliability). While the government proffers that the witness

suffered only two short episodes of depression and suicidal ideation, one over a decade ago and

the second almost five years ago, the first episode occurred, after what was likely a traumatic

kidnapping and hostage experience, during the course of the charged conspiracy about which the

witness is being called to testify. See United States v. Peters, 236 F. App’x 217, 221 (7th Cir.

2007) (noting “the unremarkable proposition that a jury should know about any mental health

issues that would compromise a witness’s ability to perceive and recall events at the time the

crime occurred.”); United States v. Partin, 493 F.2d 750, 762 (5th Cir. 1974) (“It is just as

reasonable that a jury be informed of a witness’s mental incapacity at a time about which he



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proposes to testify as it would be for the jury to know that he then suffered an impairment of

sight or hearing.” (emphasis added)). The second episode was sufficiently serious to require the

intervention of local law enforcement and hospitalization, albeit “short,” with no information

provided as the Witness’s continued need for treatment or medication or after-effects on the

Witness’s memory. On this thin record, prudence militates in favor of disclosure to defendant.

If the government’s assessment proves correct that the information in the three law enforcement

reports is of minimal relevance or not helpful to defendant, appropriate weight will be given to

the testimony elicited from the Witness.

       In sum, together, the full context of the benefits conferred on the Witness and the

potential severity of his mental health condition both in 2010 and 2019, demand more than the

government’s proposed single sentence disclosure regarding the FBI’s involvement in moving

the Witness’s car. This information reveals a potential source of the Witness’s biases and

reflects on a factor that may affect his recall and credibility, which has a reasonable probability

of affecting the outcome of this proceeding as the Witness stands to offer key testimony against

defendant. Thus, based on the descriptions provided by the government, the three withheld law

enforcement reports qualify as Giglio material that must be disclosed to defendant.

       Lastly, consideration of the government’s instant motion has been conducted ex parte and

under seal but, in light of the holding reached, the necessity of sealing is questionable.

Therefore, the government is directed to show cause why its motion and this Memorandum

Opinion and Order should not be promptly unsealed, in whole or in part.




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III.   CONCLUSION AND ORDER

       Accordingly, it is hereby

       ORDERED that the United States’ Ex Parte Motion for a Protective Order, ECF No. 45,

is DENIED; and it is further

       ORDERED that, by June 23, 2023 at 2 PM, the government show cause why its Ex

Parte Motion for a Protective Order, ECF No. 45, and this Memorandum Opinion and Order

should not be unsealed, with or without redactions.

       SO ORDERED.

       Date: June 20, 2023

                                                      __________________________
                                                      BERYL A. HOWELL
                                                      U.S. District Court Judge




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